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10                       UNITED STATES DISTRICT COURT
11                     NORTHERN DISTRICT OF CALIFORNIA

12

13    KERRY LAMONS and TANEISHA
      ROBERTSON, individually and on                 Case No.
14
      behalf of her minor children, X.R. and
15    J.R., and all others similarly situated,
                                                     JURY TRIAL DEMANDED
16
                                Plaintiffs,
17

18    v.
19
      DELTA DENTAL OF CALIFORNIA
20    and DELTA DENTAL INSURANCE
21
      COMPANY,

22                              Defendants.
23

24

25                            CLASS ACTION COMPLAINT
26
           Plaintiffs Kerry Lamons and Taneisha Robertson (“Plaintiffs”), individually
27
     and on behalf of her minor children, X.R. and J.R., and all similarly situated persons,
28


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     allege the following against Delta Dental of California and Delta Dental Insurance
 1

 2   Company (“DDIC”) (collectively referred to herein as “Delta Dental” or
 3
     “Defendant”) based upon personal knowledge with respect to themselves and on
 4

 5
     information and belief derived from, among other things, investigation by their

 6   counsel and review of public documents as to all other matters:
 7
                                                  I.    INTRODUCTION
 8
             1.       Plaintiffs bring this class action against Delta Dental for its failure to
 9

10   properly secure and safeguard Plaintiffs’ and other similarly situated Delta Dental
11
     members’ personally identifiable information (“PII”) and protected health
12
     information (“PHI”), including dates of birth, Social Security numbers, passport
13

14   numbers, financial account details, tax identification numbers, and health insurance
15
     and health information 1 (the “Private Information”), from criminal hackers.
16
             2.       Delta Dental, based in San Francisco, is a dental insurance company
17

18   that serves more than 6,928,932 customers throughout the United States.
19
             3.       On or about December 14, 2023, Delta Dental filed official notice of a
20
     hacking incident with the Office of the Maine Attorney General.2 Under state and
21

22   federal law, organizations must report breaches involving PHI within at least sixty
23
     (60) days.
24

25

26
     1
       See https://www.securityweek.com/delta-dental-of-california-discloses-data-breach-impacting-6-9-million-people/
27   (last visited on January 2, 2024).
     2
       See https://apps.web.maine.gov/online/aeviewer/ME/40/0f821b31-9e4f-4b15-872c-69fef62a93fa.shtml (last visited
28   Jan. 2, 2024).


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           4.     On or about December 15, 2023, Delta Dental also sent out data breach
 1

 2   letters (the “Notice”) to individuals whose information was compromised as a result
 3
     of the hacking incident.
 4

 5
           5.     Based on the Notice sent to Plaintiffs and “Class Members” (defined

 6   below), on June 1, 2023, Defendants learned that their file transfer vendor, MOVEit,
 7
     experienced a cyber-attack. In response, Defendants stopped access to the MOVEit
 8

 9   software and launched an investigation. On July 6, 2023, Defendants’ investigation

10   confirmed that an unauthorized party had access to certain files that contained
11
     sensitive member information, and that such access took place between May 27,
12

13   2023, and May 30, 2023 (the “Data Breach”). Yet, Delta Dental waited more than

14   five months to notify the public that they were at risk, despite its non-delegable legal
15
     obligations to do so much sooner.
16

17         6.     As a result of this delayed response, Plaintiffs and Class Members had

18   no idea for five months that their Private Information had been compromised, and
19
     that they were, and continue to be, at significant risk of identity theft and various
20

21   other forms of personal, social, and financial harm. The risk will remain for their

22   respective lifetimes.
23
           7.     The Private Information compromised in the Data Breach contained
24

25   highly sensitive member data that Delta Dental collected and maintained,
26   representing a gold mine for data thieves.
27

28


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           8.     Armed with the Private Information accessed in the Data Breach (and
 1

 2   a head start), data thieves can commit a variety of crimes including, e.g., opening
 3
     new financial accounts in Class Members’ names, taking out loans in Class
 4

 5
     Members’ names, using Class Members’ names to obtain medical services, using

 6   Class Members’ information to obtain government benefits, and filing fraudulent tax
 7
     returns.
 8

 9         9.     There has been no assurance offered by Delta Dental that all personal

10   data or copies of data have been recovered or destroyed, or that Defendants have
11
     adequately enhanced their data security practices sufficiently to avoid a similar
12

13   breach in the future.

14         10.    Therefore, Plaintiffs and Class Members have suffered and are at an
15
     imminent, immediate, and continuing increased risk of suffering, ascertainable
16

17   losses in the form of harm from identity theft and other fraudulent misuse of their

18   Private Information, the loss of the benefit of their bargain, out-of-pocket expenses
19
     incurred to remedy or mitigate the effects of the Data Breach, and the value of their
20

21   time reasonably incurred to remedy or mitigate the effects of the Data Breach.

22         11.    Plaintiffs bring this class action lawsuit to address Delta Dental’s
23
     inadequate safeguarding of Class Members’ Private Information that they collected
24

25   and maintained, and their failure to provide timely and adequate notice to Plaintiffs
26   and Class Members of the types of information that were accessed, and that such
27
     information was subject to unauthorized access by cybercriminals.
28


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            12.       The potential for improper disclosure and theft of Plaintiffs’ and Class
 1

 2   Members’ Private Information was a known risk to Delta Dental, and thus Delta
 3
     Dental was on notice that failing to take necessary steps to secure the Private
 4

 5
     Information left it vulnerable to an attack.

 6          13.       Upon information and belief, Delta Dental failed to properly monitor
 7
     and implement proper security practices regarding the computer network and
 8

 9   systems that housed the Private Information. Had Delta Dental properly monitored

10   the networks housing their members’ Private Information, they could have prevented
11
     the Data Breach, or at least discovered it sooner.
12

13          14.       Plaintiffs’ and Class Members’ identities are now at risk because of

14   Delta Dental’s negligent conduct as the Private Information that Delta Dental
15
     collected and maintained is now in the hands of data thieves and other unauthorized
16

17   third parties.

18          15.       Plaintiffs seek to remedy these harms on behalf of themselves, Plaintiff
19
     Robertson’s minor children, and all similarly situated individuals whose Private
20

21   Information was accessed and/or compromised during the Data Breach.

22          16.       Accordingly, Plaintiffs, on behalf of themselves, Plaintiff Robertson’s
23
     minor children, and the Class, assert claims for Negligence, Breach of Contract,
24

25   Breach of Implied Contract, Unjust Enrichment/Quasi-Contract, Breach of
26   Fiduciary Duty, and Declaratory Judgment/Injunctive Relief.
27

28


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           17.    Plaintiff Lamons, on behalf of herself and the “California Subclass”
 1

 2   (defined below), also asserts claims for Violation of California’s Confidentiality of
 3
     Medical Information Act and Unfair Competition Act.
 4

 5
                                            II.       PARTIES

 6         18.    Plaintiff Taneisha Robertson is, and at all times mentioned herein was,
 7   an individual citizen of the State of Georgia.
 8
           19.    Plaintiff Kerry Lamons is, and at all times mentioned herein was, an
 9

10   individual citizen of the State of California.
11
           20.    Defendant Delta Dental of California is a dental insurance company
12
     incorporated in California, with its principal place of business at 560 Mission Street
13

14   Suite 1300, San Francisco, California, 94105.
15
           21.    Defendant Delta Dental Insurance Company is a Delaware Corporation
16
     with its principal place of business at 560 Mission Street, #1300, San Francisco, CA
17

18   94105. DDIC represents that it offers and administers Delta Dental PPO and other
19
     fee-for-service dental programs in Alabama, Florida, Georgia, Louisiana,
20
     Mississippi, Montana, Nevada, and Utah.
21

22                             III.   JURISDICTION AND VENUE
23         22.    The Court has subject matter jurisdiction over this action under the
24
     Class Action Fairness Act, 28 U.S.C. § 1332(d)(2). The amount in controversy
25

26   exceeds $5 million, exclusive of interest and costs. Upon information and belief, the
27

28


                                                  6
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     number of class members is over 100, many of whom have different citizenship from
 1

 2   Delta Dental. Thus, minimal diversity exists under 28 U.S.C. § 1332(d)(2)(A).
 3
           23.    This Court has jurisdiction over Delta Dental because Delta Dental
 4

 5
     operates in and/or is incorporated in this District.

 6         24.    Venue is proper in this Court pursuant to 28 U.S.C. § 1391(a)(1)
 7
     because a substantial part of the events giving rise to this action occurred in this
 8

 9   District and Delta Dental has harmed Class Members residing in this District.

10                              IV.    FACTUAL ALLEGATIONS
11
        A. Delta Dental’s Business and Collection of Plaintiffs’ and Class Members’
12         Private Information
13

14         25.    Delta Dental is a dental insurance provider. Founded in 1955, Delta

15   Dental of California is a part of a larger network of companies known as “Delta
16
     Dental Plans Association” which serves millions of members throughout the United
17

18   States. Upon information and belief, Delta Dental employs more than 2,925 people

19   and generates approximately $5 billion in revenue.
20
           26.    As a condition of receiving dental insurance, Delta Dental requires that
21

22   its members entrust it with highly sensitive personal and health information. In the

23   ordinary course of receiving service from Delta Dental, Plaintiffs and Class
24
     Members were required to provide their Private Information to Defendants.
25

26         27.    In their Notice of Privacy Practices, Delta Dental informs its members
27   that it is “required by law to maintain the privacy and security of your Protected
28


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     Health Information (PHI).”3 Delta Dental describes in their Privacy Policy the
 1

 2   limited specific instances when they share member health information and says that
 3
     they “will not use or disclose your PHI without your prior written authorization.”4
 4

 5
     Delta Dental also states that: “Any third-party affiliates performing services on our

 6   behalf has signed a contract agreeing to protect the confidentiality of your PHI and
 7
     has implemented privacy policies and procedures that comply with applicable
 8

 9   federal and state law.” 5

10              28.      Thus, due to the highly sensitive and personal nature of the information
11
     Delta Dental acquires and stores with respect to its members, Delta Dental, upon
12

13   information and belief, promises to, among other things: keep members’ Private

14   Information private; comply with industry standards related to data security and the
15
     maintenance of their members’ Private Information; inform members of their legal
16

17   duties relating to data security and comply with all federal and state laws protecting

18   members’ Private Information; only use and release members’ Private Information
19
     for reasons that relate to the services they provide; and provide adequate notice to
20

21   members if their Private Information is disclosed without authorization.

22              29.      By obtaining, collecting, using, and deriving a benefit from Plaintiffs’
23
     and Class Members’ Private Information, Delta Dental assumed legal and equitable
24

25

26
     3
         See https://www1.deltadentalins.com/about/legal/privacy/hipaa-privacy.html (last visited Jan. 2, 2024).
27   4
         Id.

28   5
         Id.


                                                                 8
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     duties they owed to them and knew or should have known that they are responsible
 1

 2   for protecting Plaintiffs’ and Class Members’ Private Information from unauthorized
 3
     disclosure and exfiltration.
 4

 5
           30.    Plaintiffs and Class Members relied on Delta Dental to keep their

 6   Private Information confidential and securely maintained and to only make
 7
     authorized disclosures of this Information, which Defendants ultimately failed to do.
 8

 9      B. The Data Breach and Defendants’ Inadequate Notice to Plaintiffs and
           Class Members
10

11         31.    According to Defendants’ Notice, they “learned unauthorized actors
12   exploited a vulnerability affecting the MOVEit file transfer software application” on
13
     June 1, 2023. After conducting an investigation, Defendants confirmed on July 6,
14

15   2023, that their members’ information stored on its MOVEit platform “had been
16   accessed and acquired without authorization between May 27, 2023, and May 30,
17
     2023.”
18

19         32.    Through the Data Breach, the unauthorized cybercriminal(s) accessed
20   a cache of highly sensitive Private Information from Defendants, including
21
     Plaintiffs’ and Class Members’ Social Security numbers, health information, and
22

23   health insurance information.
24
           33.    On or about December 15, 2023, roughly five months after Delta Dental
25
     learned that the Class’s Private Information was first accessed by cybercriminals,
26

27   Delta Dental finally began to notify their members of the Data Breach.
28


                                              9
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           34.    Delta Dental had non-delegable duties and obligations created by
 1

 2   statute, contract, industry standards, common law, and representations made to
 3
     Plaintiffs and Class Members to keep their Private Information confidential and to
 4

 5
     protect it from unauthorized access and disclosure.

 6         35.    Plaintiffs and Class Members provided their Private Information to
 7
     Delta Dental with the reasonable expectation and mutual understanding that Delta
 8

 9   Dental would comply with their obligations to keep such Information confidential

10   and secure from unauthorized access and to provide timely notice of any security
11
     breaches.
12

13         36.    Delta Dental’s data security obligations were particularly important

14   given the substantial increase in cyberattacks in recent years.
15
           37.    Delta Dental knew or should have known that their members’ electronic
16

17   records would be targeted by cybercriminals.

18
        C. The Healthcare Sector is Particularly Susceptible to Data Breaches
19
           38.    Delta Dental was on notice that companies in the healthcare industry
20

21   are susceptible targets for data breaches.
22         39.    Delta Dental was also on notice that the FBI has been concerned about
23
     data security in the healthcare industry. In August 2014, after a cyberattack on
24

25   Community Health Systems, Inc., the FBI warned companies within the healthcare
26
     industry that hackers were targeting them. The warning stated that “[t]he FBI has
27
     observed malicious actors targeting healthcare related systems, perhaps for the
28


                                                  10
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     purpose of obtaining the Protected Healthcare Information (PHI) and/or Personally
 1

 2   Identifiable Information (PHI).”6
 3
             40.      The American Medical Association (“AMA”) has also warned
 4

 5
     healthcare companies about the importance of protecting their members’

 6   confidential information:
 7
                               Cybersecurity is not just a technical issue; it’s a
 8                             patient safety issue. AMA research has revealed that
 9
                               83% of physicians work in a practice that has
                               experienced       some    kind    of     cyberattack.
10                             Unfortunately, practices are learning that
11                             cyberattacks not only threaten the privacy and
                               security of patients’ health and financial
12                             information, but also patient access to care.7
13
             41.      The healthcare sector reported the second largest number of data
14

15   breaches among all measured sectors in 2018, with the highest rate of exposure per

16   breach.8 In 2022, the largest growth in compromises occurred in the healthcare
17
     sector.9
18

19
20

21   6
      Jim Finkle, FBI Warns Healthcare Firms that they are Targeted by Hackers, Reuters (Aug. 2014), available at
     https://www.reuters.com/article/us-cybersecurity-healthcare-fbi/fbi-warns-healthcare-firms-they-are-targeted-by-
22   hackers-idUSKBN0GK24U20140820 (last visited on Jan. 2, 2024).
23   7
      Andis Robeznieks, Cybersecurity: Ransomware attacks shut down clinics, hospitals, Am. Med. Ass’n. (Oct. 4,
     2019), available at: https://www.ama-assn.org/practice-management/sustainability/cybersecurity-ransomware-
24   attacks-shut-down-clinics-hospitals (last visited on Jan. 2, 2024).

25   8
      Identity Theft Resource Center, 2018 End-of-Year Data Breach Report, available at:
     https://www.idtheftcenter.org/2018-data-breaches/ (last visited on Jan. 2, 2024).
26
     9
      Identity Theft Resource Center, 2022 End-of-Yeare Data Breach Report, available at:
27   https://www.idtheftcenter.org/wp-content/uploads/2023/01/ITRC_2022-Data-Breach-Report_Final-1.pdf (last
     visited on Jan. 2, 2024).
28


                                                             11
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                42.    Indeed, when compromised, healthcare related data is among the most
 1

 2   sensitive and personally consequential. A report focusing on healthcare breaches
 3
     found that the “average total cost to resolve an identity theft-related incident … came
 4

 5
     to about $20,000,” and that the victims were often forced to pay out-of-pocket costs

 6   for healthcare they did not receive in order to restore coverage.10
 7
                43.    Almost 50 percent of the victims lost their healthcare coverage as a
 8

 9   result of the incident, while nearly 30 percent said their insurance premiums went

10   up after the event. Forty percent of the customers were never able to resolve their
11
     identity theft at all. Data breaches and identity theft have a crippling effect on
12

13   individuals and detrimentally impact the economy as a whole.11

14              44.    Healthcare related breaches have continued to rapidly increase because
15
     electronic PHI is seen as a valuable asset. “Hospitals have emerged as a primary
16

17   target because they sit on a gold mine of sensitive personally identifiable information

18   for thousands of patients at any given time. From social security and insurance
19
     policies, to next of kin and credit cards, no other organization, including credit
20

21   bureaus, have so much monetizable information stored in their data centers.” 12

22

23

24   10
        Elinor Mills, Study: Medical identity theft is costly for victims, CNET (March 3, 2010), available at:
     https://www.cnet.com/news/privacy/study-medical-identity-theft-is-costly-for-victims/ (last visited on Jan. 2, 2024).
25
     11
          Id.
26
     12
       Inside Digital Health, How to Safeguard Hospital Data from Email Spoofing Attacks, April 4, 2019, available at:
27   https://www.chiefhealthcareexecutive.com/view/how-to-safeguard-hospital-data-from-email-spoofing-attacks (last
     visited on Jan. 2, 2024).
28


                                                              12
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           45.   As a provider health insurance and healthcare related services, Delta
 1

 2   Dental knew, or should have known, the importance of safeguarding their members’
 3
     Private Information, including PHI, entrusted to them, and of the foreseeable
 4

 5
     consequences if such data were to be disclosed. These consequences include the

 6   significant costs that would be imposed on Delta Dental’s members as a result of a
 7
     breach. Delta Dental failed, however, to take adequate cybersecurity measures to
 8

 9   prevent the Data Breach from occurring.

10
        D. Delta Dental Failed to Comply with HIPAA
11
           46.   Title II of HIPAA contains what are known as the Administration
12

13   Simplification provisions. See 42 U.S.C. §§ 1301, et seq. These provisions require
14   that the Department of Health and Human Services (“HHS”) create rules to
15
     streamline the standards for handling PHI similar to the data Defendants left
16

17   unguarded and vulnerable to attack. The HHS has subsequently promulgated five
18   rules under authority of the Administrative Simplification provisions of HIPAA.
19
           47.   Delta Dental’s Data Breach resulted from a combination of
20

21   insufficiencies that indicate Delta Dental failed to comply with safeguards mandated
22   by HIPAA regulations and industry standards. First, it can be inferred from Delta
23
     Dental’s Data Breach that Delta Dental either failed to implement, or inadequately
24

25   implemented, information security policies or procedures to protect Plaintiffs’ and
26
     Class Members’ PHI.
27

28


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           48.    Plaintiffs’ and Class Members’ Private Information compromised in the
 1

 2   Data Breach included “protected health information” as defined by CFR § 160.103.
 3
           49.    45 CFR § 164.402 defines “breach” as “the acquisition, access, use, or
 4

 5
     disclosure of protected health information in a manner not permitted under subpart

 6   E of this part which compromises the security or privacy of the protected health
 7
     information.”
 8

 9         50.    45 CFR § 164.402 defines “unsecured protected health information” as

10   “protected health information that is not rendered unusable, unreadable, or
11
     indecipherable to unauthorized persons through the use of a technology or
12

13   methodology specified by the [HHS] Secretary[.]”

14         51.    Plaintiffs’ and Class Members’ Private Information included
15
     “unsecured protected health information” as defined by 45 CFR § 164.402.
16

17         52.    Plaintiffs’ and Class Members’ unsecured PHI was acquired, accessed,

18   used, and/or disclosed in a manner not permitted under 45 CFR, Subpart E, as a
19
     result of the Data Breach.
20

21         53.    Based upon Defendants’ Notice to Plaintiffs and Class Members, Delta

22   Dental reasonably believes that Plaintiffs’ and Class Members’ unsecured PHI has
23
     been acquired, accessed, used, and/or disclosed in a manner not permitted under 45
24

25   CFR, Subpart E, as a result of the Data Breach.
26         54.    Plaintiffs’ and Class Members’ unsecured PHI that was acquired,
27
     accessed, used, and/or disclosed in a manner not permitted under 45 CFR, Subpart
28


                                             14
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     E as a result of the Data Breach was not rendered unusable, unreadable, or
 1

 2   indecipherable to unauthorized persons.
 3
           55.   Delta Dental reasonably believes that Plaintiffs’ and Class Members’
 4

 5
     unsecured PHI that was acquired, accessed, used, and/or disclosed in a manner not

 6   permitted under 45 CFR, Subpart E as a result of the Data Breach was not rendered
 7
     unusable, unreadable, or indecipherable to unauthorized persons.
 8

 9         56.   Plaintiffs’ and Class Members’ unsecured PHI that was acquired,

10   accessed, used, and/or disclosed in a manner not permitted under 45 CFR, Subpart
11
     E as a result of the Data Breach, and which was not rendered unusable, unreadable,
12

13   or indecipherable to unauthorized persons, was viewed by unauthorized persons.

14         57.   Plaintiffs’ and Class Members’ unsecured PHI was viewed by
15
     unauthorized persons in a manner not permitted under 45 CFR, Subpart E as a result
16

17   of the Data Breach.

18         58.   Delta Dental reasonably believes that Plaintiffs’ and Class Members’
19
     unsecured PHI was viewed by unauthorized persons in a manner not permitted under
20

21   45 CFR, Subpart E as a result of the Data Breach.

22         59.   It is reasonable to infer that Plaintiffs’ and Class Members’ unsecured
23
     PHI that was acquired, accessed, used, and/or disclosed in a manner not permitted
24

25   under 45 CFR, Subpart E as a result of the Data Breach, and which was not rendered
26   unusable, unreadable, or indecipherable to unauthorized persons, was viewed by
27
     unauthorized persons.
28


                                               15
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           60.      It should be rebuttably presumed that unsecured PHI acquired,
 1

 2   accessed, used, and/or disclosed in a manner not permitted under 45 CFR, Subpart
 3
     E, and which was not rendered unusable, unreadable, or indecipherable to
 4

 5
     unauthorized persons, was viewed by unauthorized persons.

 6         61.      After receiving notice that they were victims of the Data Breach (which
 7
     required the filing of a data breach report in accordance with 45 CFR § 164.408(a)),
 8

 9   it is reasonable for recipients of that notice, including Plaintiffs and Class Members

10   in this case, to believe that future harm (including medical identity theft) is real and
11
     imminent, and to take steps necessary to mitigate that risk of future harm.
12

13         62.      In addition, Delta Dental’s Data Breach could have been prevented if

14   Delta Dental had implemented HIPAA mandated, industry standard policies and
15
     procedures for securely disposing of PHI when it was no longer necessary and/or
16

17   had honored their obligations to their members.

18         63.      Delta Dental’s security failures also include, but are not limited to:
19
                 a. Failing to maintain an adequate data security system to prevent data
20

21                  loss;

22               b. Failing to mitigate the risks of a data breach and loss of data;
23
                 c. Failing to ensure the confidentiality and integrity of electronic
24

25                  protected health information Delta Dental creates, receives, maintains,
26                  and transmits in violation of 45 CFR 164.306(a)(1);
27

28


                                                 16
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        d. Failing to implement technical policies and procedures for electronic
 1

 2         information systems that maintain electronic protected health
 3
           information to allow access only to those persons or software programs
 4

 5
           that have been granted access rights in violation of 45 CFR

 6         164.312(a)(1);
 7
        e. Failing to implement policies and procedures to prevent, detect,
 8

 9         contain, and correct security violations in violation of 45 CFR

10         164.308(a)(1);
11
        f. Failing to identify and respond to suspected or known security
12

13         incidents;

14      g. Failing to mitigate, to the extent practicable, harmful effects of security
15
           incidents that are known to the covered entity, in violation of 45 CFR
16

17         164.308(a)(6)(ii);

18      h. Failing to protect against any reasonably-anticipated threats or hazards
19
           to the security or integrity of electronic protected health information, in
20

21         violation of 45 CFR 164.306(a)(2);

22      i. Failing to protect against any reasonably anticipated uses or disclosures
23
           of electronic protected health information that are not permitted under
24

25         the privacy rules regarding individually identifiable health information,
26         in violation of 45 CFR 164.306(a)(3);
27

28


                                        17
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                 j. Failing to ensure compliance with HIPAA security standard rules by
 1

 2                 Defendants’ workforce, in violation of 45 CFR 164.306(a)(94); and
 3
                 k. Impermissibly and improperly using and disclosing protected health
 4

 5
                   information that is and remains accessible to unauthorized persons, in

 6                 violation of 45 CFR 164.502, et seq.
 7
           64.     The HIPAA Breach Notification Rule, 45 CFR §§ 164.400-414 also
 8

 9   required Delta Dental to provide notice of the Data Breach to each affected

10   individual “without unreasonable delay and in no case later than 60 days following
11
     discovery of the breach” (emphasis added).
12

13         65.     Because Delta Dental has failed to comply with HIPAA, while

14   monetary relief may cure some of Plaintiffs’ and Class Members’ injuries, injunctive
15
     relief is also necessary to ensure Delta Dental’s approach to information security is
16

17   adequate and appropriate going forward. Delta Dental still maintains the PHI and

18   other highly sensitive PII of their current and former members, including Plaintiffs
19
     and Class Members. Without the supervision of the Court through injunctive relief,
20

21   Plaintiffs’ and Class Members’ Private Information remains at risk of subsequent

22   data breaches.
23

24      E. Delta Dental Failed to Comply with FTC Guidelines

25         66.     The Federal Trade Commission (“FTC”) has promulgated numerous
26
     guides for businesses which highlight the importance of implementing reasonable
27
     data security practices. According to the FTC, the need for data security should be
28


                                              18
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     factored into all business decision making. Indeed, the FTC has concluded that a
 1

 2   company’s failure to maintain reasonable and appropriate data security for
 3
     consumers’ sensitive personal information is an “unfair practice” in violation of
 4

 5
     Section 5 of the Federal Trade Commission Act (“FTCA”), 15 U.S.C. § 45. See, e.g.,

 6   FTC v. Wyndham Worldwide Corp., 799 F.3d 236 (3d Cir. 2015).
 7
           67.    In October 2016, the FTC updated its publication, Protecting Personal
 8

 9   Information: A Guide for Business, which established cybersecurity guidelines for

10   businesses. The guidelines note that businesses should protect the personal customer
11
     information that they keep, properly dispose of personal information that is no longer
12

13   needed, encrypt information stored on computer networks, understand their

14   network’s vulnerabilities, and implement policies to correct any security problems.
15
     The guidelines also recommend that businesses use an intrusion detection system to
16

17   expose a breach as soon as it occurs, monitor all incoming traffic for activity

18   indicating someone is attempting to hack into the system, watch for large amounts
19
     of data being transmitted from the system, and have a response plan ready in the
20

21   event of a breach.

22         68.    The FTC further recommends that companies not maintain PII longer
23
     than is needed for authorization of a transaction, limit access to sensitive data,
24

25   require complex passwords to be used on networks, use industry-tested methods for
26   security, monitor the network for suspicious activity, and verify that third-party
27
     service providers have implemented reasonable security measures.
28


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            69.    The FTC has brought enforcement actions against businesses for failing
 1

 2   to adequately and reasonably protect customer data by treating the failure to employ
 3
     reasonable and appropriate measures to protect against unauthorized access to
 4

 5
     confidential consumer data as an unfair act or practice prohibited by the FTCA.

 6   Orders resulting from these actions further clarify the measures businesses must take
 7
     to meet their data security obligations.
 8

 9          70.    As evidenced by the Data Breach, Delta Dental failed to properly

10   implement basic data security practices. Delta Dental’s failure to employ reasonable
11
     and appropriate measures to protect against unauthorized access to Plaintiffs’ and
12

13   Class Members’ Private Information constitutes an unfair act or practice prohibited

14   by Section 5 of the FTCA.
15
            71.    Defendants were at all times fully aware of their obligation to protect
16

17   the Private Information of their members yet failed to comply with such obligations.

18   Defendants were also aware of the significant repercussions that would result from
19
     their failure to do so.
20

21      F. Delta Dental Failed to Comply with Industry Standards
22          72.    As noted above, experts studying cybersecurity routinely identify
23
     businesses as being particularly vulnerable to cyberattacks because of the value of
24

25   the Private Information which they collect and maintain.
26
            73.    Some industry best practices that should be implemented by businesses
27
     dealing with sensitive PHI like Delta Dental include but are not limited to educating
28


                                                20
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     all employees, strong password requirements, multilayer security including
 1

 2   firewalls,   anti-virus   and    anti-malware   software,   encryption,   multi-factor
 3
     authentication, backing up data, and limiting which employees can access sensitive
 4

 5
     data. As evidenced by the Data Breach, Defendants failed to follow some or all of

 6   these industry best practices.
 7
           74.    Other best cybersecurity practices that are standard in the industry
 8

 9   include: installing appropriate malware detection software; monitoring and limiting

10   network ports; protecting web browsers and email management systems; setting up
11
     network systems such as firewalls, switches, and routers; monitoring and protecting
12

13   physical security systems; and training staff regarding these points. As evidenced by

14   the Data Breach, Defendants failed to follow these cybersecurity best practices.
15
           75.    Defendants failed to meet the minimum standards of any of the
16

17   following frameworks: the NIST Cybersecurity Framework Version 1.1 (including

18   without limitation PR.AC-1, PR.AC-3, PR.AC-4, PR.AC-5, PR.AC-6, PR.AC-7,
19
     PR.AT-1, PR.DS-1, PR.DS-5, PR.PT-1, PR.PT-3, DE.CM-1, DE.CM-4, DE.CM-7,
20

21   DE.CM-8, and RS.CO-2), and the Center for Internet Security’s Critical Security

22   Controls (CIS CSC), which are all established standards in reasonable cybersecurity
23
     readiness.
24

25         76.    Defendants failed to comply with these accepted standards, thereby
26   permitting the Data Breach to occur.
27

28


                                               21
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 1
        G. Delta Dental Breached their Duty to Safeguard Plaintiffs’ and Class
           Members’ Private Information
 2

 3         77.    In addition to their obligations under federal and state laws, Delta
 4
     Dental owed a duty to Plaintiffs and Class Members to exercise reasonable care in
 5

 6   obtaining, retaining, securing, safeguarding, deleting, and protecting the Private
 7   Information entrusted to them from being compromised, lost, stolen, accessed, and
 8
     misused by unauthorized persons. Delta Dental owed a duty to Plaintiffs and Class
 9

10   Members to provide reasonable security, including consistency with industry
11
     standards and requirements, and to ensure that their vendor’s computer systems,
12
     networks, and protocols adequately protected the Private Information of Class
13

14   Members
15
           78.    Delta Dental breached their obligations to Plaintiffs and Class Members
16
     and/or was otherwise negligent and reckless because they failed to properly maintain
17

18   and safeguard the computer systems that housed their members’ data. Delta Dental’s
19
     unlawful conduct includes, but is not limited to, the following acts and/or omissions:
20
              a. Failing to maintain an adequate data security system that would reduce
21

22                the risk of data breaches and cyberattacks;
23
              b. Failing to adequately protect members’ Private Information;
24
              c. Failing to properly monitor their data security systems for existing
25

26                intrusions;
27

28


                                              22
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             d. Failing to sufficiently train their employees regarding the proper
 1

 2                  handling of their members Private Information;
 3
             e. Failing to fully comply with FTC guidelines for cybersecurity in
 4

 5
                    violation of the FTCA;

 6           f.     Failing to adhere to HIPAA and industry standards for cybersecurity as
 7
                    discussed above; and
 8

 9           g. Otherwise breaching their duties and obligations to protect Plaintiffs’

10                  and Class Members’ Private Information.
11
           79.      Delta Dental negligently and unlawfully failed to safeguard Plaintiffs’
12

13   and Class Members’ Private Information by allowing cyberthieves to access the

14   computer network and systems which contained unsecured and unencrypted Private
15
     Information.
16

17         80.      Had Delta Dental remedied the deficiencies in their vendor’s

18   information storage and security systems, followed industry guidelines, and adopted
19
     security measures recommended by experts in the field, they could have prevented
20

21   intrusion into the information storage and security systems and, resultant, theft of

22   Plaintiffs’ and Class Members’ confidential Private Information.
23
           81.      Accordingly, Plaintiffs’ and Class Members’ lives were severely
24

25   disrupted. What’s more, they have been harmed as a result of the Data Breach and
26   now face an increased risk of future harm that includes, but is not limited to, fraud
27

28


                                               23
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     and identity theft. Plaintiffs and Class Members also lost the benefit of the bargain
 1

 2   they made with Delta Dental.
 3
          H. Delta Dental Should Have Known that Cybercriminals Target PII and
 4
             PHI to Carry Out Fraud and Identity Theft
 5

 6           82.     The FTC hosted a workshop to discuss “informational injuries,” which
 7
     are injuries that consumers like Plaintiffs and Class Members suffer from privacy
 8

 9   and security incidents such as data breaches or unauthorized disclosure of data. 13

10   Exposure of highly sensitive personal information that a consumer wishes to keep
11
     private may cause harm to the consumer, such as the ability to obtain or keep
12

13   employment. Consumers’ loss of trust in e-commerce also deprives them of the
14   benefits provided by the full range of goods and services available which can have
15
     negative impacts on daily life.
16

17           83.     Any victim of a data breach is exposed to serious ramifications
18   regardless of the nature of the data that was breached. Indeed, the reason why
19
     criminals steal information is to monetize it. They do this by selling the spoils of
20

21   their cyberattacks on the black market to identity thieves who desire to extort and
22   harass victims or to take over victims’ identities in order to engage in illegal financial
23
     transactions under the victims’ names.
24

25

26
     13
       FTC Information Injury Workshop, BE and BCP Staff Perspective, Federal Trade Commission,
     (October 2018), available at https://www.ftc.gov/system/files/documents/reports/ftc-informational-injury-
27   workshop-be-bcp-staff-perspective/informational_injury_workshop_staff_report_-_oct_2018_0.pdf (last
     visited on Jan. 2, 2024).
28


                                                        24
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           84.    Because a person’s identity is akin to a puzzle, the more accurate pieces
 1

 2   of data an identity thief obtains about a person, the easier it is for the thief to take on
 3
     the victim’s identity or to otherwise harass or track the victim. For example, armed
 4

 5
     with just a name and date of birth, a data thief can utilize a hacking technique referred

 6   to as “social engineering” to obtain even more information about a victim’s identity,
 7
     such as a person’s login credentials or Social Security number. Social engineering is
 8

 9   a form of hacking whereby a data thief uses previously acquired information to

10   manipulate individuals into disclosing additional confidential or personal
11
     information through means such as spam phone calls and text messages or phishing
12

13   emails.

14          85.    In fact, as technology advances, computer programs may scan the
15
     Internet with a wider scope to create a mosaic of information that may be used to
16

17   link compromised information to an individual in ways that were not previously

18   possible. This is known as the “mosaic effect.” Names and dates of birth, combined
19
     with contact information like telephone numbers and email addresses, are very
20

21   valuable to hackers and identity thieves as it allows them to access users’ other

22   accounts.
23
            86.    Thus, even if certain information was not purportedly involved in the
24

25   Data Breach, the unauthorized parties could use Plaintiffs’ and Class Members’
26   Private Information to access accounts, including, but not limited to, email accounts
27

28


                                                 25
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     and financial accounts, to engage in a wide variety of fraudulent activity against
 1

 2   Plaintiffs and Class Members.
 3
           87.    One such example of this is the development of “Fullz” packages.
 4

 5
           88.    Cybercriminals can cross-reference two sources of the Private

 6   Information compromised in the Data Breach to marry unregulated data available
 7
     elsewhere to criminally stolen data with an astonishingly complete scope and degree
 8

 9   of accuracy in order to assemble complete dossiers on individuals. These dossiers

10   are known as “Fullz” packages.
11
           89.    The development of “Fullz” packages means that the stolen Private
12

13   Information from the Data Breach can easily be used to link and identify it to

14   Plaintiffs’ and the proposed Class’s phone numbers, email addresses, and other
15
     sources and identifiers. In other words, even if certain information such as emails,
16

17   phone numbers, or credit card or financial account numbers may not be included in

18   the Private Information stolen in the Data Breach, criminals can easily create a Fullz
19
     package and sell it at a higher price to unscrupulous operators and criminals (such
20

21   as illegal and scam telemarketers) over and over. That is exactly what is happening

22   to Plaintiffs and members of the proposed Class, and it is reasonable for any trier of
23
     fact, including this Court or a jury, to find that Plaintiffs and other Class Members’
24

25   stolen Private Information is being misused, and that such misuse is fairly traceable
26   to the Data Breach.
27

28


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             90.      For these reasons, the FTC recommends that identity theft victims take
 1

 2   several time-consuming steps to protect their personal and financial information
 3
     after a data breach, including contacting one of the credit bureaus to place a fraud
 4

 5
     alert on their account (and an extended fraud alert that lasts for 7 years if someone

 6   steals the victim’s identity), reviewing their credit reports, contacting companies to
 7
     remove fraudulent charges from their accounts, placing a freeze on their credit, and
 8

 9   correcting their credit reports.14 However, these steps do not guarantee protection

10   from identity theft but can only mitigate identity theft’s long-lasting negative
11
     impacts.
12

13           91.       Identity thieves can also use stolen personal information such as Social

14   Security numbers and PHI for a variety of crimes, including credit card fraud, phone
15
     or utilities fraud, bank fraud, to obtain a driver’s license or official identification
16

17   card in the victim’s name but with the thief’s picture, to obtain government benefits,

18   or to file a fraudulent tax return or insurance claim using the victim’s information.
19
     In addition, identity thieves may obtain a job using the victim’s Social Security
20

21   number or receive medical services in the victim’s name.

22

23

24

25

26

27
     14
       See IdentityTheft.gov, Federal Trade Commission, available at https://www.identitytheft.gov/Steps (last visited
28   Jan. 2, 2024).


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              92.      In fact, a study by the Identity Theft Resource Center15 shows the
 1

 2   multitude of harms caused by fraudulent use of PII:
 3

 4

 5

 6

 7

 8

 9

10

11

12

13

14            93.      PHI is also especially valuable to identity thieves. As the FTC
15
     recognizes, identity thieves can use PHI to commit an array of crimes, including
16

17
     identity theft and medical and financial fraud.16

18            94.      Indeed, a robust cyber black market exists in which criminals openly
19
     post stolen PHI on multiple underground Internet websites, commonly referred to as
20

21   the dark web.

22

23

24

25
     15
       Steele, Jason, Credit Card, and ID Theft Statistics, CreditCards.com (October 23, 2017), available at https://www.
26   creditcards.com/credit-card-news/credit-card-security-id-theft-fraud-statistics-1276/ (last visited on Jan. 2, 2024).

27   16
       Federal Trade Commission, Warning Signs of Identity Theft, available at: https://consumer.ftc.gov/articles/what-
     know-about-identity-theft (last visited on Jan. 2, 2024).
28


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              95.      While credit card information and associated PII can sell for as little as
 1

 2   $1-$2 on the black market, protected health information can sell for as much as $363
 3
     according to the Infosec Institute. 17
 4

 5
              96.      PHI is particularly valuable because criminals can use it to target

 6   victims with frauds and scams that take advantage of the victim’s medical conditions
 7
     or victim settlements. It can be used to create fake insurance claims, allowing for the
 8

 9   purchase and resale of medical equipment, or gain access to prescriptions for illegal

10   use or resale.
11
              97.      Medical identity theft can result in inaccuracies in medical records and
12

13   costly false claims. It can also have life-threatening consequences. If a victim’s

14   health information is mixed with other records, it can lead to misdiagnosis or
15
     mistreatment. “Medical identity theft is a growing and dangerous crime that leaves
16

17   its victims with little to no recourse for recovery,” reported Pam Dixon, executive

18   director of World Privacy Forum. “Victims often experience financial repercussions
19
     and worse yet, they frequently discover erroneous information has been added to
20

21   their personal medical files due to the thief’s activities.”18

22

23

24

25
     17
       Center for Internet Security, Data Breaches: In the Healthcare Sector, available at:
26   https://www.cisecurity.org/insights/blog/data-breaches-in-the-healthcare-sector (last visited on Jan. 2, 2024).

27   18
       Michael Ollove, “The Rise of Medical Identity Theft in Healthcare,” Kaiser Health News, Feb. 7, 2014, available
     at: https://kffhealthnews.org/news/rise-of-indentity-theft/ (last visited on Jan. 2, 2024).
28


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             98.      The ramifications of Delta Dental’s failure to keep their members’
 1

 2   Private Information secure are long-lasting and severe. Once it is stolen, fraudulent
 3
     use of such and damage to victims may continue for years.
 4

 5
             99.      Here, not only was sensitive medical information compromised, but

 6   Social Security numbers were compromised too. The value of both PII and PHI is
 7
     axiomatic. The value of “big data” in corporate America is astronomical. The fact
 8

 9   that identity thieves attempt to steal identities notwithstanding possible heavy prison

10   sentences illustrates beyond a doubt that the Private Information compromised here
11
     has considerable market value.
12

13           100. It must also be noted that there may be a substantial time lag between

14   when harm occurs and when it is discovered, and also between when PII and/or PHI
15
     is stolen and when it is misused. According to the U.S. Government Accountability
16

17   Office, which conducted a study regarding data breaches: 19

18
                      [L]aw enforcement officials told us that in some cases,
19                    stolen data may be held for up to a year or more before
20                    being used to commit identity theft. Further, once stolen
                      data [has] been sold or posted on the Web, fraudulent use
21
                      of that information may continue for years. As a result,
22                    studies that attempt to measure the harm resulting from
23
                      data breaches cannot necessarily rule out all future harm.

24

25

26

27
     19
      Data Breaches Are Frequent, but Evidence of Resulting Identity Theft Is Limited; However, the Full Extent Is
28   Unknown, GAO (June 2007), available at https://www.gao.gov/assets/270/262904.html (last visited Jan. 2, 2024).


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            101. PII and PHI are such valuable commodities to identity thieves that once
 1

 2   the information has been compromised, criminals often trade the information on the
 3
     dark web for years.
 4

 5
            102. As a result, Plaintiffs and Class Members are at an increased risk of

 6   fraud and identity theft, including medical identity theft, for many years into the
 7
     future. Thus, Plaintiffs and Class Members have no choice but to vigilantly monitor
 8

 9   their accounts for many years to come.

10
        I. Plaintiffs’ and Class Members’ Damages
11
            Plaintiff Robertson’s Experience
12

13          103. When Plaintiff Robertson became a member and recipient of
14
     Defendants’ services, Defendants required Plaintiff Robertson provide it with
15

16   substantial amounts of her and her minor children’s Private Information, including
17   PHI.
18
            104. On or about December 15, 2023, Plaintiff Robertson received a letter
19
20   entitled “Notice of Data Security Incident” which told her that her Private
21   Information along with her minor children’s Private Information had been accessed
22
     and acquired during the Data Breach. The notice letter informed her that the Private
23

24   Information stolen included her “date of birth, Social Security number, and health
25
     insurance information.”
26

27

28


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           105. The notice letter offered Plaintiff Robertson only two years of credit
 1

 2   monitoring services. Two years of credit monitoring is not sufficient given that
 3
     Plaintiff Robertson will now experience a lifetime of increased risk of identity theft,
 4

 5
     including but not limited to, potential medical fraud.

 6         106. Plaintiff Robertson suffered actual injury in the form of time spent
 7
     dealing with the Data Breach and the increased risk of fraud resulting from the Data
 8

 9   Breach and/or monitoring her accounts for fraud.

10         107. Plaintiff Robertson would not have provided her Private Information to
11
     Defendants had Defendants timely disclosed that they lacked adequate computer and
12

13   data security practices to safeguard their members’ personal and health information

14   from theft, and that those systems were subject to a data breach.
15
           108. Plaintiff Robertson suffered actual injury in the form of having her PII
16

17   and PHI compromised and/or stolen as a result of the Data Breach.

18         109. Plaintiff Robertson suffered actual injury in the form of damages to and
19
     diminution in the value of her personal, health, and financial information – a form
20

21   of intangible property that Plaintiff Robertson entrusted to Defendants for the

22   purpose of receiving healthcare services from them, which was compromised in, and
23
     as a result of, the Data Breach.
24

25         110. Plaintiff Robertson suffered imminent and impending injury arising
26   from the substantially increased risk of future fraud, identity theft, and misuse posed
27
     by her Private Information being placed in the hands of criminals.
28


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           111. Plaintiff Robertson has a continuing interest in ensuring that her PII and
 1

 2   PHI, which remain in the possession of Defendants, are protected, and safeguarded
 3
     from future breaches.
 4

 5
           112. As a result of the Data Breach, Plaintiff Robertson made reasonable

 6   efforts to mitigate the impact of the Data Breach, including but not limited to
 7
     researching the Data Breach, reviewing financial accounts for any indications of
 8

 9   actual or attempted identity theft or fraud, and researching the credit monitoring

10   offered by Defendants. Plaintiff Robertson has spent several hours dealing with the
11
     Data Breach, valuable time she otherwise would have spent on other activities.
12

13         113. As a result of the Data Breach, Plaintiff Robertson has suffered anxiety

14   as a result of the release of her PII and PHI, which she believed would be protected
15
     from unauthorized access and disclosure. These feelings include anxiety about
16

17   unauthorized parties viewing, selling, and/or using her PII and PHI for purposes of

18   committing cyber and other crimes against her including, but not limited to, fraud
19
     and identity theft. Plaintiff Robertson is very concerned about this increased,
20

21   substantial, and continuing risk, as well as the consequences that identity theft and

22   fraud resulting from the Data Breach would have on her life.
23
           114. Plaintiff Robertson also suffered actual injury from having her Private
24

25   Information compromised as a result of the Data Breach in the form of (a) damage
26   to and diminution in the value of her PII and PHI, a form of property that Defendants
27
     obtained from Plaintiff Robertson; (b) violation of her privacy rights; and (c) present,
28


                                               33
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     imminent, and impending injury arising from the increased risk of identity theft, and
 1

 2   fraud she now faces.
 3
           115. As a result of the Data Breach, Plaintiff Robertson anticipates spending
 4

 5
     considerable time and money on an ongoing basis to try to mitigate and address the

 6   many harms caused by the Data Breach.
 7
           Plaintiff Kerry Lamons’ Experience
 8

 9         116. When Plaintiff Lamons became a member and recipient of Defendants’
10
     services, Defendants required Plaintiff Lamons provide them with substantial
11

12   amounts of her Private Information, including PHI.

13         117. On or about December 15, 2023, Plaintiff Lamons received a letter
14
     entitled “Notice of Data Security Incident” which told her that her Private
15

16   Information had been accessed and acquired during the Data Breach.

17         118. The notice letter offered Plaintiff Lamons only two years of credit
18
     monitoring services. Two years of credit monitoring is not sufficient given that
19
20   Plaintiffs Lamons will now experience a lifetime of increased risk of identity theft,

21   including but not limited to, potential medical fraud.
22
           119. Plaintiff Lamons suffered actual injury in the form of time spent dealing
23

24   with the Data Breach and the increased risk of fraud resulting from the Data Breach
25   and/or monitoring her accounts for fraud.
26
           120. Plaintiff Lamons would not have provided her Private Information to
27

28   Defendants had Defendants timely disclosed that they lacked adequate computer and

                                              34
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     data security practices to safeguard their members’ personal and health information
 1

 2   from theft, and that those systems were subject to a data breach.
 3
           121. Plaintiff Lamons suffered actual injury in the form of having her PII
 4

 5
     and PHI compromised and/or stolen as a result of the Data Breach.

 6         122. Plaintiff Lamons suffered actual injury in the form of damages to and
 7
     diminution in the value of her personal, health, and financial information – a form
 8

 9   of intangible property that Plaintiff Lamons entrusted to Defendants for the purpose

10   of receiving healthcare services from them, which was compromised in, and as a
11
     result of, the Data Breach.
12

13         123. Plaintiff Lamons suffered imminent and impending injury arising from

14   the substantially increased risk of future fraud, identity theft, and misuse posed by
15
     her Private Information being placed in the hands of criminals.
16

17         124. Plaintiff Lamons has a continuing interest in ensuring that her PII and

18   PHI, which remain in the possession of Defendants, are protected, and safeguarded
19
     from future breaches.
20

21         125. As a result of the Data Breach, Plaintiff Lamons made reasonable

22   efforts to mitigate the impact of the Data Breach, including but not limited to
23
     researching the Data Breach, reviewing financial accounts for any indications of
24

25   actual or attempted identity theft or fraud, and researching the credit monitoring
26   offered by Defendants. Plaintiff Lamons has spent several hours dealing with the
27
     Data Breach, valuable time she otherwise would have spent on other activities.
28


                                              35
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           126. As a result of the Data Breach, Plaintiff Lamons has suffered anxiety
 1

 2   as a result of the release of her PII and PHI, which she believed would be protected
 3
     from unauthorized access and disclosure. These feelings include anxiety about
 4

 5
     unauthorized parties viewing, selling, and/or using her PII and PHI for purposes of

 6   committing cyber and other crimes against her including, but not limited to, fraud
 7
     and identity theft. Plaintiff Lamons is very concerned about this increased,
 8

 9   substantial, and continuing risk, as well as the consequences that identity theft and

10   fraud resulting from the Data Breach would have on her life.
11
           127. Plaintiff Lamons also suffered actual injury from having her Private
12

13   Information compromised as a result of the Data Breach in the form of (a) damage

14   to and diminution in the value of her PII and PHI, a form of property that Defendants
15
     obtained from Plaintiff Lamons; (b) violation of her privacy rights; and (c) present,
16

17   imminent, and impending injury arising from the increased risk of identity theft, and

18   fraud she now faces.
19
           128. As a result of the Data Breach, Plaintiff Lamons anticipates spending
20

21   considerable time and money on an ongoing basis to try to mitigate and address the

22   many harms caused by the Data Breach.
23
           129. In sum, Plaintiffs and Class Members have been damaged by the
24

25   compromise of their Private Information in the Data Breach.
26         130. Plaintiffs and Class Members entrusted their Private Information to
27
     Defendants in order to receive Defendants’ services.
28


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           131. Their Private Information was subsequently compromised as a direct
 1

 2   and proximate result of the Data Breach, which Data Breach resulted from
 3
     Defendants’ inadequate data security practices.
 4

 5
           132. As a direct and proximate result of Delta Dental’s actions and

 6   omissions, Plaintiffs and Class Members have been harmed and are at an imminent,
 7
     immediate, and continuing increased risk of harm, including but not limited to,
 8

 9   having medical services billed in their names, loans opened in their names, tax

10   returns filed in their names, utility bills opened in their names, credit card accounts
11
     opened in their names, and other forms of identity theft.
12

13         133. Further, and as set forth above, as a direct and proximate result of

14   Defendants’ conduct, Plaintiffs and Class Members have also been forced to take
15
     the time and effort to mitigate the actual and potential impact of the data breach on
16

17   their everyday lives, including placing “freezes” and “alerts” with credit reporting

18   agencies, contacting their financial institutions, closing or modifying financial
19
     accounts, and closely reviewing and monitoring bank accounts and credit reports for
20

21   unauthorized activity for years to come.

22         134. Plaintiffs and Class Members may also incur out-of-pocket costs for
23
     protective measures such as credit monitoring fees, credit report fees, credit freeze
24

25   fees, and similar costs directly or indirectly related to the Data Breach.
26         135. Plaintiffs and Class Members also face a substantial risk of being
27
     targeted in future phishing, data intrusion, and other illegal schemes through the
28


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     misuse of their Private Information, since potential fraudsters will likely use such
 1

 2   Private Information to carry out such targeted schemes against Plaintiffs and Class
 3
     Members.
 4

 5
            136. The Private Information maintained by and stolen from Defendants’

 6   systems, combined with publicly available information, allows nefarious actors to
 7
     assemble a detailed mosaic of Plaintiffs and Class Members, which can also be used
 8

 9   to carry out targeted fraudulent schemes against Plaintiffs and Class Members.

10          137. Plaintiffs and Class Members also lost the benefit of the bargain they
11
     made with Delta Dental. Plaintiffs and Class Members overpaid for services that
12

13   were intended to be accompanied by adequate data security but were not. Indeed,

14   part of the price Plaintiffs and Class Members paid to Delta Dental was intended to
15
     be used by Delta Dental to fund adequate security of Delta Dental’s systems to
16

17   protect Plaintiffs’ and Class Members’ Private Information. Thus, Plaintiffs and the

18   Class did not receive the benefit of the bargain.
19
          138.      Additionally, Plaintiffs and Class Members also suffered a loss of value
20

21   of their PII and PHI when it was acquired by cyber thieves in the Data Breach.

22   Numerous courts have recognized the propriety of loss of value damages in related
23
     cases. An active and robust legitimate marketplace for Private Information also
24

25   exists. In 2019, the data brokering industry was worth roughly $200 billion. 20 In fact,
26

27   20
       See https://thequantumrecord.com/blog/data-brokers-profit-from-our-
     data/#:~:text=The%20business%20of%20data%20brokering,annual%20revenue%20of%20%24200%20billion. (last
28   visited on Jan. 2, 2024).


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     consumers who agree to provide their web browsing history to the Nielsen
 1

 2   Corporation can in turn receive up to $50 a year.21
 3
             139. As a result of the Data Breach, Plaintiffs’, and Class Members’ Private
 4

 5
     Information, which has an inherent market value in both legitimate and illegal

 6   markets, has been harmed and diminished due to its acquisition by cybercriminals.
 7
     This transfer of valuable information happened with no consideration paid to
 8

 9   Plaintiffs or Class Members for their property, resulting in an economic loss.

10   Moreover, the Private Information is apparently readily available to others, and the
11
     rarity of the Private Information has been destroyed because it is no longer only held
12

13   by Plaintiffs and the Class Members, and because that data no longer necessarily

14   correlates only with activities undertaken by Plaintiffs and the Class Members,
15
     thereby causing additional loss of value.
16

17           140. Finally, Plaintiffs and Class Members have suffered or will suffer actual

18   injury as a direct and proximate result of the Data Breach in the form of out-of-
19
     pocket expenses and the value of their time reasonably incurred to remedy or
20

21   mitigate the effects of the Data Breach.

22           141. Moreover, Plaintiffs and Class Members have an interest in ensuring
23
     that their Private Information, which is believed to still be in the possession of Delta
24

25   Dental, is protected from future breaches by the implementation of more adequate
26

27
     21
       Frequently Asked Questions, Nielsen Computer & Mobile Panel,
28   https://computermobilepanel.nielsen.com/ui/US/en/faqen.html (last visited on Jan. 2, 2024).


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     data security measures and safeguards, including but not limited to, ensuring that the
 1

 2   storage of data or documents containing highly sensitive personal and health
 3
     information of their members is not accessible online, that access to such data is
 4

 5
     password-protected, and that such data is properly encrypted.

 6         142. As a direct and proximate result of Delta Dental’s actions and inactions,
 7
     Plaintiffs and Class Members have suffered a loss of privacy and have suffered
 8

 9   cognizable harm, including an imminent and substantial future risk of harm, in the

10   forms set forth above.
11
                              V.   CLASS ACTION ALLEGATIONS
12
           143. Plaintiffs bring this action individually and on behalf of all other
13

14   persons similarly situated, pursuant to Federal Rule of Civil Procedure 23(a),
15
     23(b)(1), 23(b)(2), and 23(b)(3).
16
           144. Specifically, Plaintiffs propose the following “Nationwide Class” and
17

18   “California Subclass” (collectively referred to herein as the “Class” or “Classes”),
19
     subject to amendment as appropriate:
20
                  Nationwide Class
21

22                All individuals, including minor children, in the United
                  States who had Private Information accessed and/or
23
                  acquired as a result of the Data Breach, including all who
24                were sent a notice of the Data Breach.
25
                  California Subclass
26
                  All living individuals, including minor children, residing
27                in California who had Private Information accessed and/or
28


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                  acquired as a result of the Data Breach, including all who
 1
                  were sent a notice of the Data Breach.
 2

 3

 4         145. Excluded from the Class are Defendants and their parents or
 5   subsidiaries, any entities in which they have a controlling interest, as well as their
 6
     officers, directors, affiliates, legal representatives, heirs, predecessors, successors,
 7

 8   and assigns. Also excluded is any Judge to whom this case is assigned as well as
 9   their judicial staff and immediate family members.
10
           146. Plaintiffs reserve the right to modify or amend the definitions of the
11

12   proposed Nationwide Class, as well as the California Subclass, before the Court
13
     determines whether certification is appropriate.
14
           147. The proposed Class meets the criteria for certification under Fed. R.
15

16   Civ. P. 23(a), (b)(2), and (b)(3).
17
           148. Numerosity. The Class Members are so numerous that joinder of all
18
     members is impracticable. Though the exact number and identities of Class
19
20   Members are unknown at this time, based on information and belief, the Class
21
     consists of 6,928,932 members of Delta Dental whose data was compromised in the
22
     Data Breach. The identities of Class Members are ascertainable through Delta
23

24   Dental’s records, Class Members’ records, publication notice, self-identification,
25
     and other means.
26

27

28


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           149. Commonality. There are questions of law and fact common to the Class
 1

 2   which predominate over any questions affecting only individual Class Members.
 3
     These common questions of law and fact include, without limitation:
 4

 5
                    a. Whether Delta Dental engaged in the conduct alleged herein;

 6                  b. Whether Delta Dental’s conduct violated the FTCA and HIPAA;
 7
                    c. When Delta Dental learned of the Data Breach;
 8

 9                  d. Whether Delta Dental’s response to the Data Breach was

10                     adequate;
11
                    e. Whether Delta Dental unlawfully lost or disclosed Plaintiffs’ and
12

13                     Class Members’ Private Information;

14                  f. Whether Delta Dental failed to implement and maintain
15
                       reasonable security procedures and practices appropriate to the
16

17                     nature and scope of the Private Information compromised in the

18                     Data Breach;
19
                    g. Whether Delta Dental’s data security systems prior to and during
20

21                     the Data Breach complied with applicable data security laws and

22                     regulations;
23
                    h. Whether Delta Dental’s data security systems prior to and during
24

25                     the Data Breach were consistent with industry standards;
26                  i. Whether Delta Dental owed a duty to Class Members to
27
                       safeguard their Private Information;
28


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              j. Whether Delta Dental breached their duty to Class Members to
 1

 2               safeguard their Private Information;
 3
              k. Whether hackers obtained Class Members’ Private Information
 4

 5
                 via the Data Breach;

 6            l. Whether Delta Dental had a legal duty to provide timely and
 7
                 accurate notice of the Data Breach to Plaintiffs and the Class
 8

 9               Members;

10            m. Whether Delta Dental breached their duty to provide timely and
11
                 accurate notice of the Data Breach to Plaintiffs and Class
12

13               Members;

14            n. Whether Delta Dental knew or should have known that their data
15
                 security systems and monitoring processes were deficient;
16

17            o. What damages Plaintiffs and Class Members suffered as a result

18               of Delta Dental’s misconduct;
19
              p. Whether Delta Dental’s conduct was negligent;
20

21            q. Whether Delta Dental was unjustly enriched;

22            r. Whether Plaintiffs and Class Members are entitled to additional
23
                 credit or identity monitoring and monetary relief; and
24

25            s. Whether Plaintiffs and Class Members are entitled to equitable
26               relief, including injunctive relief, restitution, disgorgement,
27
                 and/or the establishment of a constructive trust.
28


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             150. Typicality. Plaintiffs’ claims are typical of those of other Class
 1

 2   Members because Plaintiffs’ Private Information, like that of every other Class
 3
     Member, was compromised in the Data Breach. Plaintiffs’ claims are typical of those
 4

 5
     of the other Class Members because, inter alia, all Class Members were injured

 6   through the common misconduct of Delta Dental. Plaintiffs are advancing the same
 7
     claims and legal theories on behalf of themselves and all other Class Members, and
 8

 9   there are no defenses that are unique to Plaintiffs. The claims of Plaintiffs and those

10   of Class Members arise from the same operative facts and are based on the same
11
     legal theories.
12

13           151. Adequacy of Representation. Plaintiffs will fairly and adequately

14   represent and protect the interests of Class Members. Plaintiffs’ counsel is competent
15
     and experienced in litigating class actions, including data privacy litigation of this
16

17   kind.

18           152. Predominance. Delta Dental has engaged in a common course of
19
     conduct toward Plaintiffs and Class Members in that all of Plaintiffs’ and Class
20

21   Members’ data was stored on the same computer systems and unlawfully accessed

22   and exfiltrated in the same way. The common issues arising from Delta Dental’s
23
     conduct affecting Class Members set out above predominate over any individualized
24

25   issues. Adjudication of these common issues in a single action has important and
26   desirable advantages of judicial economy.
27

28


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           153. Superiority. A Class action is superior to other available methods for
 1

 2   the fair and efficient adjudication of this controversy and no unusual difficulties are
 3
     likely to be encountered in the management of this class action. Class treatment of
 4

 5
     common questions of law and fact is superior to multiple individual actions or

 6   piecemeal litigation. Absent a Class action, most Class Members would likely find
 7
     that the cost of litigating their individual claims is prohibitively high and would
 8

 9   therefore have no effective remedy. The prosecution of separate actions by

10   individual Class Members would create a risk of inconsistent or varying
11
     adjudications with respect to individual Class Members, which would establish
12

13   incompatible standards of conduct for Delta Dental. In contrast, conducting this

14   action as a class action presents far fewer management difficulties, conserves
15
     judicial resources and the parties’ resources, and protects the rights of each Class
16

17   Member.

18         154. Class certification is also appropriate under Fed. R. Civ. P. 23(b)(2).
19
     Delta Dental has acted and/or refused to act on grounds generally applicable to the
20

21   Class such that final injunctive relief and/or corresponding declaratory relief is

22   appropriate as to the Class as a whole.
23
           155. Finally, all members of the proposed Class are readily ascertainable.
24

25   Delta Dental has access to the names and addresses and/or email addresses of Class
26   Members affected by the Data Breach. Class Members have already been
27
     preliminarily identified and sent notice of the Data Breach by Delta Dental.
28


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                                   VI.      CLAIMS FOR RELIEF
 1

 2

 3                              COUNT I
                             NEGLIGENCE
 4
          (ON BEHALF OF PLAINTIFFS AND THE NATIONWIDE CLASS)
 5
            156. Plaintiffs restate and reallege all of the allegations stated above as if
 6

 7   fully set forth herein.
 8
            157. Delta Dental knowingly collected, came into possession of, and
 9
     maintained Plaintiffs’ and Class Members’ Private Information, and had a duty to
10

11   exercise reasonable care in safeguarding, securing, and protecting such Information
12
     from being disclosed, compromised, lost, stolen, and misused by unauthorized
13
     parties.
14

15          158. Delta Dental’s duty also included a responsibility to implement
16
     processes by which they could detect and analyze a breach quickly to give prompt
17
     notice to those affected in the case of a cyberattack.
18

19          159. Delta Dental knew or should have known of the risks inherent in
20
     collecting the Private Information of Plaintiffs and Class Members and the
21

22
     importance of adequate security. Delta Dental was on notice because, on information

23   and belief, they knew or should have known that member information would be an
24
     attractive target for cyberattacks.
25

26

27

28


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           160. Delta Dental owed a duty of care to Plaintiffs and Class Members
 1

 2   whose Private Information was entrusted to them. Delta Dental’s duties included,
 3
     but were not limited to, the following:
 4

 5
                  a. To exercise reasonable care in obtaining, retaining, securing,

 6                   safeguarding, deleting, and protecting Private Information in their
 7
                     possession;
 8

 9                b. To protect members’ Private Information using reasonable and

10                   adequate security procedures and systems compliant with industry
11
                     standards;
12

13                c. To have procedures in place to prevent the loss or unauthorized

14                   dissemination of Private Information in their possession;
15
                  d. To employ reasonable security measures and otherwise protect the
16

17                   Private Information of Plaintiffs and Class Members pursuant to

18                   HIPAA and the FTCA;
19
                  e. To implement processes to quickly detect a data breach and to timely
20

21                   act on warnings about data breaches; and

22                f. To promptly notify Plaintiffs and Class Members of the Data
23
                     Breach, and to precisely disclose the type(s) of information
24

25                   compromised.
26         161. Delta Dental’s duty to employ reasonable data security measures arose,
27
     in part, under Section 5 of the Federal Trade Commission Act, 15 U.S.C. § 45, which
28


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     prohibits “unfair . . . practices in or affecting commerce,” including, as interpreted,
 1

 2   and enforced by the FTC, the unfair practice of failing to use reasonable measures
 3
     to protect confidential data.
 4

 5
           162. Delta Dental’s duty also arose because they are bound by industry

 6   standards to protect their members’ confidential Private Information.
 7
           163. Plaintiffs and Class Members were foreseeable victims of any
 8

 9   inadequate security practices on the part of Defendants, and Delta Dental owed them

10   a duty of care to not subject them to an unreasonable risk of harm.
11
           164. Delta Dental, through their actions and/or omissions, unlawfully
12

13   breached their duty to Plaintiffs and Class Members by failing to exercise reasonable

14   care in protecting and safeguarding Plaintiffs’ and Class Members’ Private
15
     Information within Delta Dental’s possession.
16

17         165. Delta Dental, by their actions and/or omissions, breached their duty of

18   care by failing to provide, or acting with reckless disregard for, fair, reasonable, or
19
     adequate computer systems and data security practices to safeguard the Private
20

21   Information of Plaintiffs and Class Members.

22         166. Delta Dental, by their actions and/or omissions, breached their duty of
23
     care by failing to promptly identify the Data Breach and then failing to provide
24

25   prompt notice of the Data Breach to the persons whose Private Information was
26   compromised.
27

28


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           167. Delta Dental breached their duties, and thus was negligent, by failing
 1

 2   to use reasonable measures to protect Class Members’ Private Information. The
 3
     specific negligent acts and omissions committed by Defendants include, but are not
 4

 5
     limited to, the following:

 6             a. Failing to adopt, implement, and maintain adequate security measures
 7
                  to safeguard Class Members’ Private Information;
 8

 9             b. Failing to adequately monitor the security of the networks and systems

10                that housed their members’ Private Information;
11
               c. Allowing unauthorized access to Class Members’ Private Information;
12

13             d. Failing to comply with the FTCA;

14             e. Failing to detect in a timely manner that Class Members’ Private
15
                  Information had been compromised; and
16

17             f. Failing to timely notify Class Members about the Data Breach so that

18                they could take appropriate steps to mitigate the potential for identity
19
                  theft and other damages.
20

21         168. Delta Dental acted with reckless disregard for the rights of Plaintiffs

22   and Class Members by failing to provide prompt and adequate individual notice of
23
     the Data Breach such that Plaintiffs and Class Members could take measures to
24

25   protect themselves from damages caused by the fraudulent use of the Private
26   Information compromised in the Data Breach.
27

28


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           169. Delta Dental had a special relationship with Plaintiffs and Class
 1

 2   Members. Plaintiffs’ and Class Members’ willingness to entrust Delta Dental with
 3
     their Private Information was predicated on the understanding that Delta Dental
 4

 5
     would take adequate security precautions. Moreover, Delta Dental had the ability to

 6   protect the Private Information in their possession from attack.
 7
           170. Delta Dental’s breach of duties owed to Plaintiffs and Class Members
 8

 9   caused Plaintiffs’ and Class Members’ Private Information to be compromised and

10   exfiltrated as alleged herein.
11
           171. Delta Dental’s breach of duty also caused a substantial, imminent risk
12

13   to Plaintiffs and Class Members of identity theft, loss of control over their Private

14   Information, and/or loss of time and money to monitor their accounts for fraud.
15
           172. As a result of Delta Dental’s negligence in breach of their duties owed
16

17   to Plaintiffs and Class Members, Plaintiffs and Class Members are in danger of

18   imminent harm in that their Private Information, which is still in the possession of
19
     third parties, will be used for fraudulent purposes.
20

21         173. Delta Dental also had independent duties under state law that required

22   it to reasonably safeguard Plaintiffs’ and Class Members’ Private Information and
23
     promptly notify them about the Data Breach.
24

25         174. As a direct and proximate result of Delta Dental’s negligent conduct,
26   Plaintiffs and Class Members have suffered damages as alleged herein and are at
27
     imminent risk of further harm.
28


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           175. The injury and harm that Plaintiffs and Class Members suffered was
 1

 2   reasonably foreseeable.
 3
           176. Plaintiffs and Class Members have suffered injury and are entitled to
 4

 5
     damages in an amount to be proven at trial.

 6         177. In addition to monetary relief, Plaintiffs and Class Members are also
 7
     entitled to injunctive relief requiring Delta Dental to, inter alia, strengthen their data
 8

 9   security systems and monitoring procedures, conduct periodic audits of those

10   systems, and provide lifetime credit monitoring and identity theft insurance to
11
     Plaintiffs and Class Members.
12

13                             COUNT II
                         BREACH OF CONTRACT
14        (ON BEHALF OF PLAINTIFFS AND THE NATIONWIDE CLASS)
15
           178. Plaintiffs restate and reallege the allegations in the preceding
16

17   paragraphs as if fully set forth herein.

18         179. Plaintiffs and Class Members entered into a valid and enforceable
19
     contract through which they paid money to Delta Dental in exchange for services.
20

21   That contract included promises by Defendants to secure, safeguard, and not disclose

22   Plaintiffs’ and Class Members’ Private Information.
23
           180. Delta Dental’s Privacy Policy memorialized the rights and obligations
24

25   of Delta Dental and their members. This document was provided to Plaintiffs and
26   Class Members in a manner in which it became part of the agreement for services.
27

28


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           181. In the Privacy Policy, Delta Dental commits to protecting the privacy
 1

 2   and security of private information and promises to never share Plaintiffs’ and Class
 3
     Members’ Private Information except under certain limited circumstances.
 4

 5
           182. Plaintiffs and Class Members fully performed their obligations under

 6   their contracts with Delta Dental.
 7
           183. However, Delta Dental did not secure, safeguard, and/or keep private
 8

 9   Plaintiffs’ and Class Members’ Private Information, and therefore Delta Dental

10   breached their contracts with Plaintiffs and Class Members.
11
            184. Delta Dental allowed third parties to access, copy, and/or exfiltrate
12

13   Plaintiffs’ and Class Members’ Private Information without permission. Therefore,

14   Delta Dental breached the Privacy Policy with Plaintiffs and Class Members.
15
            185. Delta Dental’s failure to satisfy their confidentiality and privacy
16

17   obligations, specifically those arising under the FTCA, HIPAA, and applicable

18   industry standards, resulted in Delta Dental providing services to Plaintiffs and Class
19
     Members that were of a diminished value.
20

21          186. As a result, Plaintiffs and Class Members have been harmed, damaged,

22   and/or injured as described herein, including in Defendants’ failure to fully perform
23
     their part of the bargain with Plaintiffs and Class Members.
24

25          187. As a direct and proximate result of Delta Dental’s conduct, Plaintiffs
26   and Class Members suffered and will continue to suffer damages in an amount to be
27
     proven at trial.
28


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           188. In addition to monetary relief, Plaintiffs and Class Members are also
 1

 2   entitled to injunctive relief requiring Delta Dental to, inter alia, strengthen their data
 3
     security systems and monitoring procedures, conduct periodic audits of those
 4

 5
     systems, and provide lifetime credit monitoring and identity theft insurance to

 6   Plaintiffs and Class Members.
 7
                               COUNT III
 8                   BREACH OF IMPLIED CONTRACT
 9
          (ON BEHALF OF PLAINTIFFS AND THE NATIONWIDE CLASS)

10         189. Plaintiffs restate and reallege the allegations in the preceding
11
     paragraphs as if fully set forth herein.
12

13         190. This Count is pleaded in the alternative to Count III above.

14         191. Delta Dental provides dental insurance to Plaintiffs and Class
15
     Members. Plaintiffs and Class Members formed an implied contract with Defendants
16

17   regarding the provision of those services through their collective conduct, including

18   by Plaintiffs and Class Members paying for services and/or entrusting their valuable
19
     Private Information to Defendants in exchange for such services.
20

21         192. Through Defendants’ sale of services to Plaintiffs and Class Members,

22   they knew or should have known that they must protect Plaintiffs’ and Class
23
     Members’ confidential Private Information in accordance with their policies,
24

25   practices, and applicable law.
26         193. As consideration, Plaintiffs and Class Members paid money to Delta
27
     Dental and/or turned over valuable Private Information to Delta Dental.
28


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     Accordingly, Plaintiffs and Class Members bargained with Delta Dental to securely
 1

 2   maintain and store their Private Information.
 3
           194. Delta Dental accepted payment and/or possession of Plaintiffs’ and
 4

 5
     Class Members’ Private Information for the purpose of providing services to

 6   Plaintiffs and Class Members.
 7
           195. In paying Defendants and/or providing their valuable Private
 8

 9   Information to Defendants in exchange for Defendants’ services, Plaintiffs and Class

10   Members intended and understood that Delta Dental would adequately safeguard the
11
     Private Information as part of those services.
12

13         196. Defendants’ implied promises to Plaintiffs and Class Members include,

14   but are not limited to, (1) taking steps to ensure that anyone who is granted access
15
     to Private Information also protect the confidentiality of that data; (2) taking steps
16

17   to ensure that the Private Information that is placed in the control of their employees

18   is restricted and limited to achieve an authorized business purpose; (3) restricting
19
     access to qualified and trained employees and/or agents; (4) designing and
20

21   implementing appropriate retention policies to protect the Private Information

22   against criminal data breaches; (5) applying or requiring proper encryption; (6)
23
     implementing multifactor authentication for access; (7) complying with HIPAA
24

25   standards to make sure that Plaintiffs’ and Class Members’ PHI would remain
26   protected; and (8) taking other steps to protect against foreseeable data breaches.
27

28


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           197. Plaintiffs and Class Members would not have entrusted their Private
 1

 2   Information to Delta Dental in the absence of such an implied contract.
 3
           198. Had Delta Dental disclosed to Plaintiffs and the Class that they did not
 4

 5
     have adequate computer systems and security practices to secure sensitive data,

 6   Plaintiffs and Class Members would not have provided their Private Information to
 7
     Delta Dental.
 8

 9         199. As a provider of healthcare, Delta Dental recognized (or should have

10   recognized) that Plaintiffs’ and Class Member’s Private Information is highly
11
     sensitive and must be protected, and that this protection was of material importance
12

13   as part of the bargain with Plaintiffs and the other Class Members.

14         200. Delta Dental violated these implied contracts by failing to employ
15
     reasonable and adequate security measures to secure Plaintiffs’ and Class Members’
16

17   Private Information. Delta Dental further breached these implied contracts by failing

18   to comply with their promise to abide by HIPAA.
19
           201. Additionally, Delta Dental breached the implied contracts with
20

21   Plaintiffs and Class Members by failing to ensure the confidentiality and integrity of

22   electronic protected health information they created, received, maintained, and
23
     transmitted, in violation of 45 CFR 164.306(a)(1).
24

25         202. Delta Dental also breached the implied contracts with Plaintiffs and
26   Class Members by failing to implement technical policies and procedures for
27
     electronic systems that maintain electronic PHI to allow access only to those persons
28


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     or software programs that have been granted access rights, in violation of 45 CFR
 1

 2   164.312(a)(1).
 3
           203. Delta Dental further breached the implied contracts with Plaintiffs and
 4

 5
     Class Members by failing to implement policies and procedures to prevent, detect,

 6   contain, and correct security violations, in violation of 45 CFR 164.308(a)(1).
 7
           204. Delta Dental further breached the implied contracts with Plaintiffs and
 8

 9   Class Members by failing to identify and respond to suspected or known security

10   incidents; mitigate, to the extent practicable, harmful effects of security incidents
11
     that are known to the covered entity, in violation of 45 CFR 164.308(a)(6)(ii).
12

13         205. Delta Dental further breached the implied contracts with Plaintiffs and

14   Class Members by failing to protect against any reasonably anticipated threats or
15
     hazards to the security or integrity of electronic protected health information, in
16

17   violation of 45 CFR 164.306(a)(2).

18         206. Delta Dental further breached the implied contracts with Plaintiffs and
19
     Class Members by failing to protect against any reasonably anticipated uses or
20

21   disclosures of electronic protected health information that are not permitted under

22   the privacy rules regarding individually identifiable health information, in violation
23
     of 45 CFR 164.306(a)(3).
24

25         207. Delta Dental further breached the implied contracts with Plaintiffs and
26   Class Members by failing to ensure compliance with the HIPAA security standard
27
     rules by their workforce violations, in violation of 45 CFR 164.306(a)(94).
28


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            208. Delta Dental further breached the implied contracts with Plaintiffs and
 1

 2   Class Members by impermissibly and improperly using and disclosing protected
 3
     health information that is and remains accessible to unauthorized persons, in
 4

 5
     violation of 45 CFR 164.502, et seq.

 6          209. Delta Dental further breached the implied contracts with Plaintiffs and
 7
     Class Members by failing to design, implement, and enforce policies and procedures
 8

 9   establishing physical administrative safeguards to reasonably safeguard protected

10   health information, in violation of 45 CFR 164.530(c).
11
            210. Delta Dental further breached the implied contracts with Plaintiffs and
12

13   Class Members by otherwise failing to safeguard Plaintiffs’ and Class Members’

14   PHI.
15
            211. A meeting of the minds occurred, as Plaintiffs and Class Members
16

17   agreed, inter alia, to provide payment and/or accurate and complete Private

18   Information to Delta Dental in exchange for Delta Dental’s agreement to, inter alia,
19
     provide services that included protection of their highly sensitive Private
20

21   Information.

22          212. Plaintiffs and Class Members have been damaged by Delta Dental’s
23
     conduct, including the harms and injuries arising from the Data Breach now and in
24

25   the future, as alleged herein.
26

27

28


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                               COUNT IV
 1
                 UNJUST ENRICHMENT/QUASI CONTRACT
 2        (ON BEHALF OF PLAINTIFFS AND THE NATIONWIDE CLASS)
 3
           213. Plaintiffs restate and reallege the allegations in the preceding
 4

 5
     paragraphs as if fully set forth herein.

 6         214. This Count is pleaded in the alternative to Counts II and III above.
 7
           215. Plaintiffs and Class Members conferred a benefit on Delta Dental by
 8

 9   turning over their Private Information to Defendants and by paying for services that

10   should have included cybersecurity protection to protect their Private Information.
11
     Plaintiffs and Class Members did not receive such protection.
12

13         216. Upon information and belief, Delta Dental funds their data security

14   measures entirely from their general revenue, including from payments made to
15
     them by Plaintiffs and Class Members.
16

17         217. As such, a portion of the payments made by Plaintiffs and Class

18   Members is to be used to provide a reasonable and adequate level of data security
19
     that is in compliance with applicable state and federal regulations and industry
20

21   standards, and the amount of the portion of each payment made that is allocated to

22   data security is known to Delta Dental.
23
           218. Delta Dental has retained the benefits of their unlawful conduct,
24

25   including the amounts of payment received from Plaintiffs and Class Members that
26   should have been used for adequate cybersecurity practices that they failed to
27
     provide.
28


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           219. Delta Dental knew that Plaintiffs and Class Members conferred a
 1

 2   benefit upon them, which Delta Dental accepted. Delta Dental profited from these
 3
     transactions and used the Private Information of Plaintiffs and Class Members for
 4

 5
     business purposes, while failing to use the payments they received for adequate data

 6   security measures that would have secured Plaintiffs’ and Class Members’ Private
 7
     Information and prevented the Data Breach.
 8

 9         220. If Plaintiffs and Class Members had known that Delta Dental had not

10   adequately secured their Private Information, they would not have agreed to provide
11
     such Private Information to Defendants.
12

13         221. Due to Delta Dental’s conduct alleged herein, it would be unjust and

14   inequitable under the circumstances for Delta Dental to be permitted to retain the
15
     benefit of their wrongful conduct.
16

17         222. As a direct and proximate result of Delta Dental’s conduct, Plaintiffs

18   and Class Members have suffered, and/or are at a continued, imminent risk of
19
     suffering, injury that includes but is not limited to the following: (i) the loss of the
20

21   opportunity to control how their Private Information is used; (ii) the compromise,

22   publication, and/or theft of their Private Information; (iii) out-of-pocket expenses
23
     associated with the prevention, detection, and recovery from identity theft, and/or
24

25   unauthorized use of their Private Information; (iv) lost opportunity costs associated
26   with effort expended and the loss of productivity addressing and attempting to
27
     mitigate the actual and future consequences of the Data Breach, including but not
28


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     limited to efforts spent researching how to prevent, detect, contest, and recover from
 1

 2   identity theft; (v) the continued risk to their Private Information, which remains in
 3
     Delta Dental’s possession and is subject to further unauthorized disclosures so long
 4

 5
     as Delta Dental fails to undertake appropriate and adequate measures to protect

 6   Private Information in their continued possession; and (vi) future costs in terms of
 7
     time, effort, and money that will be expended to prevent, detect, contest, and repair
 8

 9   the impact of the Private Information compromised as a result of the Data Breach

10   for the remainder of the lives of Plaintiffs and Class Members.
11
           223. Plaintiffs and Class Members are entitled to full refunds, restitution,
12

13   and/or damages from Delta Dental and/or an order proportionally disgorging all

14   profits, benefits, and other compensation obtained by Delta Dental from their
15
     wrongful conduct. This can be accomplished by establishing a constructive trust
16

17   from which the Plaintiffs and Class Members may seek restitution or compensation.

18         224. Plaintiffs and Class Members may not have an adequate remedy at law
19
     against Delta Dental, and accordingly, they plead this claim for unjust enrichment in
20

21   addition to, or in the alternative to, other claims pleaded herein.

22                             COUNT V
23   CALIFORNIA’S CONFIDENTIALITY OF MEDICAL INFORMATION ACT
                        Cal. Civ. Code § 56, et seq.
24           (ON BEHALF OF PLAINTIFF LAMONS AND THE
25                     CALIFORNIA SUBCLASS)
26         225. Plaintiffs reallege and incorporate by reference the allegations
27
     contained in the preceding paragraphs as if fully set forth herein.
28


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           226. Defendants are “provider[s] of healthcare” services as defined in Cal.
 1

 2   Civ. Code § 56.06 and are therefore subject to the requirements of the CMIA, Cal.
 3
     Civ. Code §§ 56.10(a), (d) and (e), 56.36(b), 56.101(a) and (b).
 4

 5
           227. Plaintiffs and the Class are “patients,” as defined in CMIA, Cal. Civ.

 6   Code § 56.05(k) (“‘Patient’ means any natural person, whether or not still living,
 7
     who received healthcare services from a provider of healthcare and to whom medical
 8

 9   information pertains.”).

10         228. Defendants disclosed “medical information,” as defined in CMIA, Cal.
11
     Civ. Code § 56.05(j), to unauthorized persons without first obtaining consent, in
12

13   violation of Cal. Civ. Code § 56.10(a). The disclosure of information to unauthorized

14   individuals in the Data Breach resulted from the inactions of Defendants, including
15
     their failure to adequately implement sufficient data security and monitoring
16

17   measures and protocols to protect Plaintiffs’ and Class Members’ Private

18   Information, which allowed hackers to obtain such Information.
19
           229. Specifically, Defendants’ negligence resulted in the release of
20

21   individually identifiable PHI pertaining to Plaintiffs and the Class to unauthorized

22   cybercriminals and the breach of the confidentiality of that information. Defendants’
23
     negligent failure to maintain, preserve, store, abandon, destroy, and/or dispose of
24

25   Plaintiffs’ and Class Members’ Private Information in a manner that preserved the
26   confidentiality of the information contained therein is a violation of Cal. Civ. Code
27
     §§ 56.06 and 56.101(a).
28


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           230. Defendants’ systems and protocols did not protect and preserve the
 1

 2   integrity of electronic medical information belonging to Plaintiffs and the Class, in
 3
     violation of Cal. Civ. Code § 56.101(b)(1)(A).
 4

 5
           231. Plaintiffs and the Class were injured and have suffered damages, as

 6   described above, from Defendants’ illegal disclosure and negligent acts and
 7
     omissions resulting in the release of their medical information, in violation of Cal.
 8

 9   Civ. Code §§ 56.10 and 56.101, and therefore seek relief under Civ. Code §§ 56.35

10   and 56.36, including actual damages, nominal statutory damages of $1,000, punitive
11
     damages of $3,000, injunctive relief, and attorney fees, expenses and costs.
12

13                                  COUNT VI
                    CALIFORNIA UNFAIR COMPETITION ACT
14                     Cal. Bus. & Prof. Code §§ 17200, et seq.
15                (ON BEHALF OF PLAINTIFF LAMONS AND THE
                            CALIFORNIA SUBCLASS)
16

17         232. Plaintiffs reallege and incorporate by reference the allegations

18   contained in the preceding paragraphs as if fully set forth herein.
19
           233. Plaintiff Kerry Lamons (for the purposes of this section, “Plaintiff”)
20

21   brings this claim on behalf of herself and the California Subclass.

22         234. Delta Dental is a “person” as defined by Cal. Bus. & Prof. Code §
23
     17201.
24

25         235. Delta Dental violated Cal. Bus. & Prof. Code §§ 17200, et seq. (“UCL”)
26   by engaging in unlawful, unfair, and deceptive business acts and practices.
27
           236. Delta Dental’s “unfair” acts and practices include:
28


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        a. Delta Dental failed to implement and maintain reasonable security
 1

 2         measures to protect Plaintiff’s and California Subclass Members’
 3
           Private Information from unauthorized disclosure, release, data
 4

 5
           breaches, and theft, which was a direct and proximate cause of the Data

 6         Breach;
 7
        b. Delta Dental failed to identify foreseeable security risks, remediate
 8

 9         identified security risks, and sufficiently improve security following

10         previous cybersecurity incidents, as described herein. This conduct,
11
           with little if any utility, is unfair when weighed against the harm to
12

13         Plaintiff and California Subclass Members, whose Private Information

14         has been compromised;
15
        c. Delta Dental’s failure to implement and maintain reasonable security
16

17         measures also was contrary to legislatively declared public policy that

18         seeks to protect consumers’ data and ensure that entities that are trusted
19
           with it use appropriate security measures. These policies are reflected
20

21         in laws, including the FTC Act, 15 U.S.C. § 45, California’s Consumer

22         Records Act, Cal. Civ. Code § 1798.81.5, and California’s Consumer
23
           Privacy Act, Cal. Civ. Code § 1798.100;
24

25      d. Delta Dental’s failure to implement and maintain reasonable security
26         measures also resulted in substantial consumer injuries, as described
27
           above, that are not outweighed by any countervailing benefits to
28


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                   consumers or competition. Moreover, because consumers could not
 1

 2                 have known of Delta Dental’s grossly inadequate security, consumers
 3
                   could not have reasonably avoided the harms that Delta Dental caused;
 4

 5
                   and

 6              e. Delta Dental engaged in unlawful business practices by violating Cal.
 7
                   Civ. Code § 1798.82.
 8

 9          237. Delta Dental has engaged in “unlawful” business practices by violating

10   multiple laws, including California’s Consumer Records Act, Cal. Civ. Code §§
11
     1798.81.5 (requiring reasonable data security measures) and 1798.82 (requiring
12

13   timely breach notification), the FTC Act, 15 U.S.C. § 45, and California common

14   law.
15
            238. Delta Dental’s unlawful, unfair, and deceptive acts and practices
16

17   include:

18              a. Failing to implement and maintain reasonable security and privacy
19
                   measures to protect Plaintiff’s and California Subclass Members’
20

21                 Private Information, which was a direct and proximate cause of the

22                 Data Breach;
23
                b. Failing to identify and remediate foreseeable security and privacy risks
24

25                 and sufficiently improve security and privacy measures despite
26                 knowing the risk of cybersecurity incidents, which was a direct and
27
                   proximate cause of the Data Breach;
28


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        c. Failing to comply with common law and statutory duties pertaining to
 1

 2         the security and privacy of Plaintiff’s and California Subclass
 3
           Members’ Private Information, including duties imposed by the FTC
 4

 5
           Act, 15 U.S.C. § 45, which was a direct and proximate cause of the Data

 6         Breach;
 7
        d. Misrepresenting that they would protect the privacy and confidentiality
 8

 9         of Plaintiff’s and California Subclass Members’ Private Information,

10         including by implementing and maintaining reasonable security
11
           measures;
12

13      e. Misrepresenting that they would comply with common law and

14         statutory duties pertaining to the security and privacy of Plaintiff’s and
15
           California Subclass Members’ Private Information, including duties
16

17         imposed by the FTC Act, 15 U.S.C. § 45;

18      f. Omitting, suppressing, and concealing the material fact that they did
19
           not properly secure Plaintiff’s and California Subclass Members’
20

21         Private Information;

22      g. Omitting, suppressing, and concealing the material fact that they did
23
           not comply with common law and statutory duties pertaining to the
24

25         security and privacy of Plaintiff’s and California Subclass Members’
26         Private Information, including duties imposed by the FTC Act, 15
27
           U.S.C. § 45, California’s Consumer Privacy Act, Cal. Civ. Code §
28


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                    1798.100, and California’s Customer Records Act, Cal. Civ. Code §
 1

 2                  1798.80, et seq., and § 1798.81.5, which was a direct and proximate
 3
                    cause of the Data Breach; and
 4

 5
               h. Failing to provide the Notice of Data Breach required by Cal. Civ. Code

 6                  § 1798.82(d)(1).
 7
           239. Delta Dental’s representations and omissions were material because
 8

 9   they were likely to deceive reasonable consumers about the adequacy of Delta

10   Dental’s data security and ability to protect the confidentiality of consumers’ Private
11
     Information.
12

13         240. As a direct and proximate result of Delta Dental’s unfair, unlawful, and

14   fraudulent acts and practices, Plaintiff and California Subclass Members were
15
     injured and suffered monetary and non-monetary damages, as described herein,
16

17   including but not limited to fraud and identity theft; time and expenses related to

18   monitoring their financial accounts for fraudulent activity; an increased, imminent
19
     risk of fraud and identity theft; loss of value of their Private Information;
20

21   overpayment for Delta Dental’s services; loss of the value of access to their Private

22   Information; and the value of identity protection services made necessary by the
23
     Data Breach.
24

25         241. Delta Dental acted intentionally, knowingly, and maliciously to violate
26   California’s Unfair Competition Law, and recklessly disregarded Plaintiff’s and
27
     California Subclass Members’ rights.
28


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           242. Plaintiff and California Subclass Members seek all monetary and non-
 1

 2   monetary relief allowed by law, including restitution of all profits stemming from
 3
     Delta Dental’s unfair, unlawful, and fraudulent business practices or use of their
 4

 5
     Private Information; declaratory relief; reasonable attorneys’ fees and costs under

 6   California Code of Civil Procedure § 1021.5; injunctive relief; and other appropriate
 7
     equitable relief.
 8

 9                             COUNT VII
                      BREACH OF FIDUCIARY DUTY
10        (ON BEHALF OF PLAINTIFFS AND THE NATIONWIDE CLASS)
11
           243. Plaintiffs restate and reallege the allegations in the preceding
12

13   paragraphs as if fully set forth herein.

14         244. In light of the special relationship between Delta Dental and their
15
     members, whereby Delta Dental became a guardian of Plaintiffs’ and Class
16

17   Members’ Private Information (including highly sensitive, confidential, personal,

18   and other PHI) Delta Dental was a fiduciary, created by their undertaking and
19
     guardianship of the Private Information, to act primarily for the benefit of their
20

21   members, including Plaintiffs and Class Members. This benefit included (1) the

22   safeguarding of Plaintiffs’ and Class Members’ Private Information; (2) timely
23
     notifying Plaintiffs and Class Members of the Data Breach; and (3) maintaining
24

25   complete and accurate records of what and where Delta Dental’s members’ Private
26   Information was and is stored.
27

28


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           245. Delta Dental had a fiduciary duty to act for the benefit of Plaintiffs and
 1

 2   the Class upon matters within the scope of their members’ relationship, to keep the
 3
     Private Information secure.
 4

 5
           246. Delta Dental breached their fiduciary duties to Plaintiffs and Class

 6   Members by failing to diligently investigate the Data Breach to determine the
 7
     number of Class Members affected and notify them within a reasonable and
 8

 9   practicable period of time.

10         247. Delta Dental breached their fiduciary duties to Plaintiffs and the Class
11
     by failing to protect their Private Information.
12

13         248. Delta Dental breached their fiduciary duties to Plaintiffs and Class

14   Members by failing to ensure the confidentiality and integrity of electronic PHI
15
     Delta Dental created, received, maintained, and transmitted, in violation of 45 CFR
16

17   164.306(a)(1).

18         249. Delta Dental breached their fiduciary duties to Plaintiffs and Class
19
     Members by failing to implement technical policies and procedures for electronic
20

21   information systems that maintain electronic PHI to allow access only to those

22   persons or software programs that have been granted access rights, in violation of
23
     45 CFR 164.312(a)(1).
24

25         250. Delta Dental breached their fiduciary duties to Plaintiffs and Class
26   Members by failing to implement policies and procedures to prevent, detect, contain,
27
     and correct security violations, in violation of 45 CFR 164.308(a)(1).
28


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           251. Delta Dental breached their fiduciary duties to Plaintiffs and Class
 1

 2   Members by failing to identify and respond to suspected or known security incidents;
 3
     mitigate, to the extent practicable, harmful effects of security incidents that are
 4

 5
     known to the covered entity, in violation of 45 CFR 164.308(a)(6)(ii).

 6         252. Delta Dental breached their fiduciary duties to Plaintiffs and Class
 7
     Members by failing to protect against any reasonably-anticipated threats or hazards
 8

 9   to the security or integrity of electronic PHI, in violation of 45 CFR 164.306(a)(2).

10         253. Delta Dental breached their fiduciary duties to Plaintiffs and Class
11
     Members by failing to protect against any reasonably-anticipated uses or disclosures
12

13   of electronic PHI that are not permitted under the privacy rules regarding

14   individually identifiable health information, in violation of 45 CFR 164.306(a)(3).
15
           254. Delta Dental breached their fiduciary duties to Plaintiffs and Class
16

17   Members by failing to ensure compliance with the HIPAA security standard rules

18   by their workforce, in violation of 45 CFR 164.306(a)(94).
19
           255. Delta Dental breached their fiduciary duties to Plaintiffs and Class
20

21   Members by impermissibly and improperly using and disclosing PHI that is and

22   remains accessible to unauthorized persons, in violation of 45 CFR 164.502, et seq.
23
           256. As a direct and proximate result of Delta Dental’s breaches of their
24

25   fiduciary duties, Plaintiffs and Class Members have suffered and will continue to
26   suffer the harms and injuries alleged herein, as well as anxiety, emotional distress,
27
     loss of privacy, and other economic and non-economic losses.
28


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                               COUNT VIII
 1
                 DECLARATORY JUDGMENT/INJUNCTIVE RELIEF
 2                       (ON BEHALF OF PLAINTIFFS AND
 3
                            THE NATIONWIDE CLASS)

 4
           257. Plaintiffs restate and reallege the allegations in the preceding
 5

 6   paragraphs as if fully set forth herein.
 7         258. Under the Declaratory Judgment Act, 28 U.S.C. § 2201, et seq., this
 8
     Court is authorized to enter a judgment declaring the rights and legal relations of the
 9

10   parties and to grant further necessary relief. Furthermore, the Court has broad
11
     authority to restrain acts that are tortious and violate the terms of the federal and
12
     state laws and regulations described in this Complaint.
13

14         259. Delta Dental owes a duty of care to Plaintiffs and Class Members,
15
     which required it to adequately secure Plaintiffs’ and Class Members’ Private
16
     Information.
17

18         260. Delta Dental still possesses Private Information regarding Plaintiffs and
19
     Class Members.
20
           261. Plaintiffs allege that Delta Dental’s data security measures remain
21

22   inadequate. Furthermore, Plaintiffs continue to suffer injury as a result of the
23
     compromise of their Private Information and the risk remains that further
24
     compromises of their Private Information will occur in the future.
25

26         262. Under its authority pursuant to the Declaratory Judgment Act, this
27
     Court should enter a judgment declaring, among other things, the following:
28


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              a. Delta Dental owes a legal duty to secure their members’ Private
 1

 2                 Information and to timely notify members of a data breach under the
 3
                   common law, HIPAA, and the FTCA;
 4

 5
              b. Delta Dental’s existing security measures do not comply with their

 6                 explicit or implicit contractual obligations and duties of care to provide
 7
                   reasonable security procedures and practices that are appropriate to
 8

 9                 protect members’ Private Information; and

10            c. Delta Dental continues to breach this legal duty by failing to employ
11
                   reasonable measures to secure members’ Private Information.
12

13         263. This Court should also issue corresponding prospective injunctive relief

14   requiring Delta Dental to employ adequate security protocols consistent with legal
15
     and industry standards to protect members’ Private Information, including the
16

17   following:

18            a. Order Delta Dental to provide lifetime credit monitoring and identity
19
                   theft insurance to Plaintiffs and Class Members.
20

21            b. Order that, to comply with Defendants’ explicit or implicit contractual

22                 obligations and duties of care, Delta Dental must implement and
23
                   maintain reasonable security measures, including, but not limited to:
24

25                i.     engaging third-party security auditors/penetration testers as well
26                       as internal security personnel to conduct testing, including
27
                         simulated attacks, penetration tests, and audits on Delta Dental’s
28


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                        systems on a periodic basis, and ordering Delta Dental to
 1

 2                      promptly correct any problems or issues detected by such third-
 3
                        party security auditors;
 4

 5
               ii.      engaging third-party security auditors and internal personnel to

 6                      run automated security monitoring;
 7
              iii.      auditing, testing, and training their security personnel regarding
 8

 9                      any new or modified procedures;

10             iv.      segmenting their user applications by, among other things,
11
                        creating firewalls and access controls so that if one area is
12

13                      compromised, hackers cannot gain access to other portions of

14                      Delta Dental’s systems;
15
               v.       conducting regular database scanning and security checks;
16

17             vi.      routinely and continually conducting internal training and

18                      education to inform internal security personnel how to identify
19
                        and contain a breach when it occurs and what to do in response
20

21                      to a breach; and

22            vii.      meaningfully educating their members about the threats they face
23
                        with regard to the security of their Private Information, as well
24

25                      as the steps they should take to protect themselves.
26         264. If an injunction is not issued, Plaintiffs will suffer irreparable injury and
27
     will lack an adequate legal remedy to prevent another data breach at Delta Dental.
28


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     The risk of another such breach is real, immediate, and substantial. If another breach
 1

 2   at Delta Dental occurs, Plaintiffs will not have an adequate remedy at law because
 3
     many of the resulting injuries are not readily quantifiable.
 4

 5
           265. The hardship to Plaintiffs if an injunction does not issue exceeds the

 6   hardship to Delta Dental if an injunction is issued. Plaintiffs will likely be subjected
 7
     to substantial, continued identity theft and other related damages if an injunction is
 8

 9   not issued. On the other hand, the cost of Delta Dental’s compliance with an

10   injunction requiring reasonable prospective data security measures is relatively
11
     minimal, and Delta Dental has a pre-existing legal obligation to employ such
12

13   measures.

14         266. Issuance of the requested injunction will not disserve the public interest.
15
     To the contrary, such an injunction would benefit the public by preventing a
16

17   subsequent data breach at Delta Dental, thus preventing future injury to Plaintiffs

18   and other members whose Private Information would be further compromised.
19
                                 VII.     PRAYER FOR RELIEF
20
          WHEREFORE, Plaintiffs, individually, and on behalf of Plaintiff Robertson’s
21

22   minor children, and the Class described above, seek the following relief:
23
               a. An order certifying this action as a Class action under Fed. R. Civ. P.
24
                  23, defining the Class as requested herein, appointing the undersigned
25

26                as Class counsel, and finding that Plaintiffs are proper representatives
27
                  of the Nationwide Class and California Subclass requested herein;
28


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        b. Judgment in favor of Plaintiffs and Class Members awarding them
 1

 2         appropriate monetary relief, including actual damages, statutory
 3
           damages, equitable relief, restitution, disgorgement, and statutory
 4

 5
           costs;

 6      c. An order providing injunctive and other equitable relief as necessary to
 7
           protect the interests of the Class as requested herein;
 8

 9      d. An order instructing Delta Dental to purchase or provide funds for

10         lifetime credit monitoring and identity theft insurance to Plaintiffs and
11
           Class Members;
12

13      e. An order requiring Delta Dental to pay the costs involved in notifying

14         Class Members about the judgment and administering the claims
15
           process;
16

17      f. A judgment in favor of Plaintiffs and Class Members awarding them

18         prejudgment and post-judgment interest, reasonable attorneys’ fees,
19
           costs, and expenses as allowable by law; and
20

21      g. An award of such other and further relief as this Court may deem just

22         and proper.
23
                      VIII.    DEMAND FOR JURY TRIAL
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25         Plaintiffs demand a trial by jury on all triable issues.
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     DATED: January 3, 2024.        Respectfully submitted,
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